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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

HOWARD KARP, derivatively on behalf of No. 1:19-cv-01855-LPS
ZIMMER BIOMET HOLDINGS, INC.,

Plaintiff,
V.

CHRISTOPHER B. BEGLEY, BETSY J.
BERNARD, PAUL M. BISARO, GAIL K.
BOUDREAUX, TONY W. COLLINS,
DAVID C. DVORAK, MICHAEL J.
FARRELL, DANIEL P. FLORIN, LARRY
GLASSCOCK, ROBERT A. HAGEMANN,
ARTHUR J. HIGGINS, MICHAEL W.
MICHELSON, CECIL B. PICKETT,
JEFFREY K. RHODES, KKR BIOMET LLC,
TPG PARTNERS IV, L.P., TPG PARTNERS
V, L.P., TPG FOF V-A, L.P., TPG FOF V-B,
L.P., TPG LVB CO-INVEST LLC, and TPG
LVB CO-INVEST II LLC,

Defendants,

and

ZIMMER BIOMET HOLDINGS, INC.,

Nominal Defendant.

 

 

[Additional caption follows]

 
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ALEX DiGAUDIO, derivatively on behalf of No. 19-cv-01926-LPS
ZIMMER BIOMET HOLDINGS, INC.,

Plaintiff,
V.

CHRISTOPHER B. BEGLEY, BETSY J.
BERNARD, PAUL M. BISARO, GAIL K.
BOUDREAUX, TONY W. COLLINS,
DAVID C. DVORAK, MICHAEL J.
FARRELL, DANIEL P. FLORIN, LARRY
GLASSCOCK, ROBERT A. HAGEMANN,
ARTHUR J. HIGGINS, MICHAEL W.
MICHELSON, CECIL B. PICKETT,
JEFFREY K. RHODES, KKR BIOMET LLC,
TPG PARTNERS IV, L.P., TPG PARTNERS
V, L.P., TPG FOF V-A, L.P., TPG FOF V-B,
L.P., TPG LVB CO-INVEST LLC, and TPG
LVB CO-INVEST I LLC

Defendants,
and

ZIMMER BIOMET HOLDINGS, INC.,

Nominal Defendant.

 

 

[PROPOSED] STIPULATED ORDER REGARDING SERVICE, CONSOLIDATION,
APPOINTMENT OF PLAINTIFFS’ LEADERSHIP, AND SCHEDULING

WHEREAS, on October 2, 2019, plaintiff Howard Karp (“Karp”) filed a Verified
Stockholder Derivative Complaint alleging claims on behalf of nominal defendant Zimmer
Biomet Holdings, Inc. (“Zimmer”) against Christopher B. Begley, Betsy J. Bernard, Paul M.
Bisaro, Gail K. Boudreaux, Tony W. Collins, David C. Dvorak, Michael J. Farrell, Daniel P.
Florin, Larry Glasscock, Robert A. Hagemann, Arthur J. Higgins,., Michael W. Michelson, Cecil

B. Pickett, Ph.D., Jeffrey K. Rhodes, KKR Biomet LLC, TPG Partners [V, L.P., TPG Partners V,

 
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L.P., TPG FOF V-A L.P., TPG FOF V-B, L.P., TPG LVB Co-Invest LLV, and TPG LVB Co-
Invest II LLC (C.A. No. 2019 cv-01855-JPS (the “Karp Action”));

WHEREAS, on October 11, 2019, plaintiff Alex DiGaudio (“DiGaudio”) filed a Verified
Stockholder Derivative Complaint alleging similar claims on behalf of nominal defendant
Zimmer, against Christopher B. Begley, Betsy J. Bernard, Paul M. Bisaro, Gail K. Boudreaux,
Tony W. Collins, David C. Dvorak, Michael J. Farrell, Daniel P. Florin, Larry Glasscock, Robert
A. Hagemann, Arthur J. Higgins,., Michael W. Michelson, Cecil B. Pickett, Ph.D., Jeffrey K.
Rhodes, KKR Biomet LLC, TPG Partners IV, L.P., TPG Partners V, L.P., TPG FOF V-A L.P.,
TPG FOF V-B, L.P., TPG LVB Co-Invest LLV, and TPG LVB Co-Invest II LLC (C.A. No.
2019-cv-01926-UNA (the “DiGaudio Action”));

WHEREAS, the Karp Action and the DiGaudio Action are collectively referred to herein
as the “Federal Derivative Actions” and nominal defendant Zimmer, together with the
defendants in the Karp Action and the DiGaudio Action are collectively referred to herein as the
“Defendants”;

WHEREAS, Federal Rule of Civil Procedure 42(a) permits the consolidation of actions if
“actions before the Court involve a common question of law or fact”; this rule also empowers the
Court to issue “any other orders to avoid unnecessary costs or delay”;

WHEREAS, counsel for Karp and DiGaudio (collectively, the “Plaintiffs”) agrees that
the Federal Derivative Actions involve substantially the same questions of fact and law, and that
both lawsuits allege, inter alia, breaches of fiduciary duties and violations of federal securities
laws by the Defendants;

WHEREAS, counsel for Plaintiffs have conferred with counsel for Defendants and all

parties agree that consolidation of the Federal Derivative Actions is appropriate, and that

 
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Defendants’ counsel are authorized to accept service of the complaint on behalf of all named
Defendants in each of the Federal Derivative Actions;

WHEREAS, Defendants agree that the administration of justice will be served by
consolidating the Federal Derivative Actions and take no position with respect to the
appointment of a lead plaintiff or lead plaintiffs counsel in the consolidated action;

WHEREAS, the Federal Derivative Actions are related to the shareholder securities class
action pending in the U.S. District Court for the Northern District of Indiana, captioned Shah et
al. vy. Zimmer Biomet Holdings, Inc., et al., No 3:16-cv-00815-PPS-MGG (the “Securities
Action”) and the consolidated shareholder derivative action pending in the Delaware Court of
Chancery, captioned In re Zimmer Biomet Holdings, Inc. Derivative Litigation, Consol. C.A. No.
2019-0455-AGB (the “State Derivative Action”);

WHEREAS, the Delaware Court of Chancery has ordered a stay of the State Derivative
Action other than as to competing motions to appoint lead counsel for plaintiffs in the State
Derivative Actions;

WHEREAS, Defendants intend to file (a) a motion to stay the Federal Derivative Actions
pending final resolution of the Securities Action; and (b) Motion(s) to Dismiss the Federal
Derivative Actions if their Motion to Stay is denied;

WHEREAS, a private mediation is ongoing in the Securities Action, the State Derivative
Action, and the Federal Derivative Actions (the “Mediation’’);

NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the parties
hereto, through their undersigned counsel, subject to the approval of the Court, as follows:

1. The undersigned counsel for Defendants acknowledge that they are authorized to

accept, and hereby do accept, service of the complaints in the Federal Derivative Actions on

 
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behalf of their respective clients, without prejudice and without waiver of any of their defenses,
objections or arguments in this matter or any other matter, except as to sufficiency of service of
process.

2. The two above-captioned actions are hereby consolidated for all purposes and are
referred to herein as the “Federal Derivative Action.” Hereinafter, papers need only be filed in
No. 2019-cv-01855-LPS.

3. The caption of the Federal Derivative Action shall be as follows: Jn re Zimmer
Biomet Holdings, Inc. Federal Derivative Litigation, No. 2019-cv-01855-LPS.

4. All papers and documents previously served or filed in any of the cases
consolidated herein are deemed a part of the record in the Federal Derivative Action.

5. Plaintiffs Howard Karp and Alex DiGaudio are hereby appointed as Lead
Plaintiffs for the Federal Derivative Action. The law firms of Gardy & Notis, LLP and Squitieri
& Fearon LLP are hereby appointed as Plaintiffs’ Lead Counsel for the Federal Derivative
Action and the law firm of Cooch and Taylor, P.A. is hereby appointed as Plaintiffs’ Liaison
Counsel.

6. This Order shall apply to this Federal Derivative Action and any future-filed

actions related to the subject matter of this case. When a case that properly belongs as part of the
Federal Derivative Action is hereafter filed in the Court, this Court requests the assistance of
counsel in calling to the attention of the Court the filing of any case which might properly be
consolidated as part of the Federal Derivative Action, and counsel for Plaintiffs will provide
counsel in subsequently filed actions notice of this order.

7. Lead Counsel shall set policy in the Federal Derivative Action and for any other

Plaintiffs for the prosecution of the Federal Derivative Action, delegate and monitor the work

 
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performed by Plaintiffs’ attorneys to ensure there is no duplication of effort or unnecessary

expense, coordinate on behalf of Plaintiffs the initiation and conduct of discovery proceedings,

and have the authority to negotiate a settlement, subject to approval of the Court, and allocate

fees among Plaintiffs’ counsel, if awarded. Any agreement reached between counsel for

Defendants and Lead Counsel shall be binding on any other Plaintiffs.

8. Lead Counsel shall assume the following powers and responsibilities:
a. coordinate and direct the preparation of pleadings;
b. coordinate and direct the briefing and argument of motions;
c. coordinate and direct the conduct of discovery and other pretrial
proceedings;
d. coordinate the selection of counsel to act as Plaintiffs’ spokesperson at
pretrial conferences;
e. call meetings of Plaintiffs’ counsel as they deem necessary and
appropriate from time to time;
f. conduct any and ail settlement negotiations with counsel for the
Defendants;
g. coordinate and direct the preparation for trial and trial of this matter, and
delegate work responsibilities to selected counsel as may be required; and
h. coordinate and direct any other matters concerning the prosecution or
resolution of the Consolidated Action.
9. Lead Counsel shall be responsible for coordinating all activities and appearances

on behalf of Plaintiffs and for the dissemination of notices and orders of this Court, as well as for

communications to and from this Court. No motion, request for discovery or other pre-trial or

 
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trial proceedings shall be initiated or filed by any Plaintiff except through Lead Counsel and
Liaison Counsel.

10... The Federal Derivative Action will be stayed pending the ongoing Mediation.
The stay shall remain in place until the conclusion of mediation efforts, whether successful or
unsuccessful, as determined by any party and upon 10 days notice to all parties. The parties shall
consult with the mediator prior to issuing any such notice.

11. Following termination of the stay, Lead Plaintiffs shall have 30 days to either
designate an operative complaint or file a consolidated amended complaint.

12. Following the designation of an operative complaint or filing of a consolidated
amended complaint, Defendants shall have 30 days to file a Motion to Stay the Federal
Derivative Action pending final resolution of the Securities Action, Lead Plaintiffs shall have 30
days to file their opposition thereto, and Defendants shall have 21 days to file their reply.

13. If the Court denies the Motion to Stay, Defendants shall have 60 days after the
denial of the Motion to Stay to file Motion(s) to Dismiss pursuant to Rule 23.1 and/or 12(b),
Lead Plaintiffs shall have 45 days to file an opposition thereto, and Defendants shall have 30
days to reply.

14. ‘If the Court denies the Motion(s) to Dismiss as to any Defendant, such
Defendant(s) (other than nominal defendant Zimmer) shall answer the operative complaint
within 30 days of the Court’s Order.

15. This Stipulation and Order are without prejudice to the right of any party to raise
any and all arguments, objections, motions or defenses concerning the claims in the Federal

Derivative Action or the adequacy of Lead Plaintiffs and/or Lead or Liaison Counsel.

 
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Dated: October 24, 2019

/s/ Jody Barillare

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IT IS SO ORDERED, this day of , 2019.

 

 

Judge Leonard P. Stark

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